Case 1:18-cv-23303-CMA Document 1 Entered on FLSD Docket 08/14/2018 Page 1 of 5



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                      COM PLAINT UNDER THE CW IL RIGHTS ACT,42U .S.C.j 1983

   1. Party Inform ation

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   B.Defendant:                                    e-Z/           Defendant'
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        (W rite thefullname ofeach defendant,ofticialposition and placeofemployment.Attach a
        separatepageifyouneedadditionalspaceforadditionaldefendants.)
Case 1:18-cv-23303-CMA Document 1 Entered on FLSD Docket 08/14/2018 Page 2 of 5




   11. Statem entofClaim

   Brietly describethe factsofyourcase. Describe how each defendantisinvolved,nam esofother
   PCVSOnS involved,and datesand places. Each claim should be stated in a separately num bered
   paragraph. Please use shortand plain statenvnts,w ith separately numbered paragraphs indicating
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   whythe reliefrequested should be granted.Do noti   d ude legalargum entsorcitecasesorstatutes.
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   111. ReliefR equested

   Brietly statewhatyouarerequestingfrom theCourt(whatdo youwanttheCourttodo).Do not
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   Areyoudemandingajurytrial?        Yes          No


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